          Case 5:18-cv-00496-FJS-DEP Document 100 Filed 04/23/19 Page 1 of 2




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


     JOHN DOE #I, JOHN DOE #2, JOHN DOE #3,
     JOHN DOE #4, JOHN DOE #5, JOHN DOE #6,
     JOHN DOE #7, JOHN DOE #8, and JOHN DOE
     #9,

                                 Plaintiffs,
     v
                                                                         PARTIAL STIPULATION OF
     SYRACUSE LTNIVERSITY, KENT SYVERUD,                                 DISCONTINUANCE OF ACTION AS
     individually and as Chancellor of Syracuse                          TO ALL CLAIMS OF JOHN DOE
     University, ROBERT HRADSKY, individually                            PLAINTIFFS,o4nr, 46)), (7)r, rg", AND
     and as Syracuse University Dean of Students and                     ..9t
     Associate Vice President of the Student
     Experience, and TERESA ABI-NADER                                    Case   No.:    5:18-cv-496 (FJS/DEP)
     DAHLBERG, individually and as the Dean of the
     College of Engineering and Computer Science,

                                 Defendants.




                 IT IS HEREBY STIPULATED AND AGREED, by and between the parties                    and the

attorneys of record for the parties to the above-entitled action, pursuant to Rule         al   @) (1)   (A) (iÐ

of the Federal Rules of Civil Procedure, whereas no party to this stipulation is an infant,

incompetent person for whom a committee has been appointed or conservatee, the above-entitled

action by John Doe Plaintiffs tt4'o '(6') r '67" r tt8tt and    "9" be, and the same hereby is
discontinued, for all claims, counterclaims, as against defendants without prejudice, and without

costs      to any party   as against the   other. This stipulation may be filed without further notice with

the Clerk of the Court.




{s0977604. l }
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 Dated:        nprilß,ZOIO       SMITH, SOVIK, KENDRICK & SUGNET, P.C.
                                 Attorneysþr John Doe Plaintffi "4", "6", "7", "8" and
                                  ..9tt
                                 By:
                                          Karen G Felter, Esq


Dated:         npIþ,ZOtO         HANCOCK ESTABROOK, LLP
                                 Attorneys   for   D efendant s


                                 By:
                                          John       Powers, Esq




              23 2019
Dated: April _,                           IT IS SO ORDERED:




                                      Hon. Frederick J. Scullin
                                SENIORUnited States District Judge




(s0977604.1)
